Case 19-17544-elf      Doc 36    Filed 06/19/20 Entered 06/19/20 15:16:26          Desc Main
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               IN THE UNITED STATES BANKRUPTCY COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In Re:                                          : Bankruptcy No. 19-17544-elf
    Christopher R. Kreamer                      : Chapter 13
                      Debtor                    :
                                                :
Bridgecrest Credit Company, LLC                 :
                     Movant                     :
                                                :
              vs.                               :
                                                :
Christopher R. Kreamer                          :
                      Debtor/Respondent         :
              and                               :
William C. Miller, Esquire                      :
                      Trustee/Respondent        :


   PRAECIPE TO WITHDRAW OBJECTION TO CONFIRMATION OF THE PLAN

TO THE CLERK:

        Please mark the Objection to Confirmation of the Plan, filed on March 05, 2020 as Doc.
#21, as withdrawn without prejudice.


                                               Respectfully submitted,


                                               /s/ Stephen M. Hladik, Esquire
                                               Stephen M. Hladik, Esquire
                                               Hladik, Onorato & Federman, LLP
                                               Attorney I.D. # 66287
                                               298 Wissahickon Avenue
                                               North Wales, PA 19454
                                               Phone 215-855-9521
                                               Email: shladik@hoflawgroup.com
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                                                  :
Christopher R. Kreamer                            :
                      Debtor/Respondent           :
              and                                 :
William C. Miller, Esquire                        :
                      Trustee/Respondent          :

                                 CERTIFICATE OF MAILING

       I, Stephen M. Hladik, Esquire, certify under penalty of perjury that I served a copy of the
Praecipe to Withdraw the Objection to Confirmation of the Plan to the parties at the addresses
shown below on June 19, 2020.

       The types of service made on parties were: Electronic Notification and First Class Mail:

Michael W. Gallagher, Esquire               Christopher R. Kreamer
Via Electronic Filing                       507 Columbia Avenue
Attorney for Debtors                        Lansdale, PA 19446
                                            Via First Class Mail
William C. Miller, Esquire                  Debtors
Via Electronic Filing
Trustee


                                                 /s/ Stephen M. Hladik, Esquire
                                                 Stephen M. Hladik, Esquire
                                                 Hladik, Onorato & Federman, LLP
                                                 Attorney I.D. # 66287
                                                 298 Wissahickon Avenue
                                                 North Wales, PA 19454
                                                 Phone 215-855-9521
                                                 Email: shladik@hoflawgroup.com
